                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

CONSTRUCTION ENTERPRISES, INC.,                   )
                                                  )
        Plaintiff,                                )
                                                  )
v.                                                )
                                                  )
GEMINI INSURANCE COMPANY,                         )      CASE NO.
ALLIED WORLD NATIONAL                             )
ASSURANCE COMPANY, EVANSTON                       )      JURY DEMANDED
INSURANCE COMPANY, OHIO                           )
CASUALTY INSURANCE COMPANY,                       )
and COLONY INSURANCE COMPANY,                     )
                                                  )
        Defendants.                               )

                                          COMPLAINT

        Plaintiff Construction Enterprises, Inc. (“CEI”), brings this Complaint for Declaratory

Judgment as to Defendants Gemini Insurance Company (“Gemini”), Allied World National

Assurance Company (“Allied World”), Evanston Insurance Company (“Evanston”), Ohio

Casualty Insurance Company (“Ohio Casualty”), and Colony Insurance Company (“Colony”),

for common law breach of the duty to negotiate settlement in good faith as to Allied World, and

for statutory bad faith as to Allied World and states:

                                  NATURE OF THE ACTION

        1.      This is an action for damages and under the Declaratory Judgment Act, 28 U.S.C.

§§ 2201, et seq., for declaratory judgment holding that damage to exterior panels installed by

CEI’s subcontractors and water infiltration associated with those panels, as alleged in litigation

and arbitration brought against CEI, constitutes “‘property damage’ caused by an occurrence”

under the terms of general liability insurance policies CEI purchased from Gemini and Allied

World (collectively, the “Primary Insurers”) and excess liability policies issued by Allied World,




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Evanston Insurance, Ohio Casualty, and Colony (collectively, the “Excess Insurers”), triggering

duties to defend and settle those claims.

        2.      CEI further seeks relief under Tennessee common law for bad faith failure to

negotiate settlement of the claims against CEI related to property damage in Colorado.

        3.      CEI further seeks relief under Colorado statutes that govern the conduct of

insurers doing business in Colorado.

                                            PARTIES

        4.      CEI is a Tennessee corporation headquartered in Franklin, Tennessee.

        5.      Allied World is a Delaware corporation headquartered in New York, New York.

        6.      Allied World issued primary general liability insurance policies to CEI with limits

of $2,000,000.00 per occurrence and $4,000,000.00 in the aggregate covering CEI’s insurable

risks for the periods from February 16, 2013 through February 16, 2014, February 16, 2014

through February 16, 2015, and February 16, 2015 through February 16, 2016.

        7.      Allied World issued excess liability insurance policies to CEI, including a policy

with an additional $10,000,000.00 per occurrence limit covering CEI’s insurable risks for the

period from February 16, 2013 through February 16, 2014, and policies each with additional

$20,000,000.00 per occurrence limits covering CEI’s insurable risks for the periods from

February 16, 2014 through February 16, 2015 and February 16, 2015 through February 16, 2016.

        8.      Gemini is a Delaware corporation headquartered in Greenwich, Connecticut.

        9.      Gemini sold primary general liability insurance policies to CEI with limits of

$2,000,000.00 per occurrence and $4,000,000.00 in the aggregate covering CEI’s insurable risks

for the periods from February 16, 2016 through February 16, 2017, February 16, 2017 through




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February 16, 2018, February 16, 2018 through February 16, 2019, and February 16, 2019 through

August 1, 2020.

            10.   Evanston Insurance is an Illinois corporation headquartered in North Deerfield,

Illinois.

            11.   Evanston Insurance sold excess liability policies to CEI, excess of the Gemini

Primary Policies, including policies with a $10,000,000.00 per occurrence limit covering CEI’s

insurable risks for the periods from February 16, 2016 through February 16, 2017, February 16,

2017 through February 16, 2018, February 16, 2018 through February 16, 2019, and February 16,

2019 through August 1, 2020.

            12.   Ohio Casualty is a New Hampshire corporation headquartered in Boston,

Massachusetts.

            13.   Ohio Casualty sold excess liability policies to CEI, excess of the Gemini Primary

Policies and the Evanston Excess policies, including a policy with an $10,000,000.00 per

occurrence limit covering CEI’s insurable risks for the periods from February 16, 2016 through

July 21, 2016, and $15,000,000.00 per occurrence limit for July 21, 2016 through February 16,

2017, February 16, 2017 through February 16, 2018, February 16, 2018 through February 16,

2019, and February 16, 2019 through August 1, 2020.

            14.   Colony is a Virginia corporation headquartered in Richmond, Virginia.

            15.   Colony sold excess liability policies to CEI, excess of the Gemini Primary

Policies, the Evanston Excess Policies, and the Ohio Casualty Excess Policies, including a policy

with an $25,000,000.00 per occurrence limit covering CEI’s insurable risks for the periods from

February 16, 2016 through February 16, 2017 and February 16, 2017 through February 16, 2018.




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                                   JURISDICTION & VENUE

          16.   Each Primary Insurer and Each Excess Insurer is subject to personal jurisdiction

in the State of Tennessee because they sold the policies at issue to CEI in the State of Tennessee.

          17.   Allied World is further subject to personal jurisdiction in the State of Tennessee

because it breached its duty to negotiate settlement in good faith claims against Tennessee-

resident CEI.

          18.   The value of the disputed coverage exceeds $75,000, and there is complete

diversity between Tennessee-citizen CEI and defendants (none of whom are Tennessee citizens),

so the federal courts have subject matter jurisdiction over this dispute under 28 U.S.C. § 1332.

          19.   Venue is proper in this Court under 28 U.S.C. § 1391(b) because a substantial part

of the events or omissions giving rise to this action occurred in the Middle District of Tennessee

and any or all defendants are subject to the Court’s personal jurisdiction with respect to this

action.

                                    STATEMENT OF FACTS

                      CEI paid several million dollars to insure against liability
                          for damages caused by its subcontractors’ work.

          20.   CEI is a general contracting firm established in 1977 that specializes in the multi-

family market, including mid-rise student housing.

          21.   CEI provides some materials but not labor for the projects in which it serves as

general contractor.     Instead, CEI assists property owners and developers in securing and

coordinating the work of subcontractors who perform the work needed to complete the

construction process.

          22.   CEI paid nearly $2,900,000.00 in premium for primary commercial general

liability coverage from February 2013 through February 2020:


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              a.      CEI paid Allied World $266,290.00 for a primary commercial

       general liability policy with a $2,000,000.00 limit per occurrence and

       $4,000,000.00 in the aggregate covering the period from February 16, 2013

       through February 16, 2014 (Policy #0308-1494, the “2013 Allied World Primary

       Policy”). A true and accurate copy of that policy is attached hereto as Exhibit A.

              b.      CEI paid Allied World $382,130.00 for a primary commercial

       general liability policy with a $2,000,000.00 limit per occurrence and

       $4,000,000.00 in the aggregate covering the period from February 16, 2014

       through February 16, 2015 (Policy #0308-1494, the “2014 Allied World Primary

       Policy”). A true and accurate copy of that policy is attached hereto as Exhibit B.

              c.      CEI paid Allied World $378,312.00 for a primary commercial

       general liability policy with a $2,000,000.00 limit per occurrence and

       $4,000,000.00 in the aggregate covering the period from February 16, 2015

       through February 16, 2016 (Policy #0308-1494, the “2015 Allied World Primary

       Policy”). A true and accurate copy of that policy is attached hereto as Exhibit C.

              d.      CEI paid Gemini $425,040.00 for a primary commercial general

       liability policy with a $2,000,000.00 limit per occurrence and $4,000,000.00 in

       the aggregate covering the period from February 16, 2016 through February 16,

       2017 (Policy #VGGP001915, the “2016 Gemini Primary Policy”). A true and

       accurate copy of that policy is attached hereto as Exhibit D.

              e.      CEI paid Gemini $446,292.00 for a primary commercial general

       liability policy with a $2,000,000.00 limit per occurrence and $4,000,000.00 in

       the aggregate covering the period from February 16, 2017 through February 16,



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                2018 (Policy #VGGP002531, the “2017 Gemini Primary Policy”). A true and

                accurate copy of that policy is attached hereto as Exhibit E.

                       f.      CEI paid Gemini $440,239.00 for a primary commercial general

                liability policy with a $2,000,000.00 limit per occurrence and $4,000,000.00 in

                the aggregate covering the period from February 16, 2018 through February 16,

                2019 (Policy #VGGP003109, the “2018 Gemini Primary Policy”). A true and

                accurate copy of that policy is attached hereto as Exhibit F.

                       g.      CEI paid Gemini $381,669.00 for a primary commercial general

                liability policy with a $2 million per-occurrence limit covering the period from

                February 16, 2019 through February 1, 2020 (Policy #VGGP003886, the “2019

                Gemini Primary Policy”). A true and accurate copy of that policy is attached

                hereto as Exhibit G.

                       h.      CEI paid Gemini $173,659.00 to extend the 2019 Gemini Primary

                Policy from February 16, 2020 to August 1, 2020.

        23.     The primary commercial general policies listed in the immediately preceding

paragraph (including its subparagraphs) are hereinafter referred to collectively as the “Primary

Policies” and individually as a “Primary Policy.”

        24.     Every Primary Policy obligates the issuing insurer to pay all sums that CEI

becomes legally obligated to pay as damages because of property damage caused by an

occurrence that occurs during the policy period in the coverage area.

        25.     CEI paid more than $1,700,000.00 in additional premium for excess insurance

coverage over and above each of the underlying Primary Policies:




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              a.      CEI paid at least $95,000.00 for $10,000,000.00 in excess

       coverage from Allied World covering the period from February 16, 2013 through

       February 16, 2014 (Policy # 0308-1497, the “2013 Allied World Excess Policy”).

       A true and accurate copy of that policy is attached hereto as Exhibit H.

              b.      CEI paid at least $191,000.00 for $20,000,000.00 in excess

       coverage from Allied World covering the period from February 16, 2014 through

       February 16, 2015 (Policy # 0308-1497, the “2014 Allied World Excess Policy”).

       A true and accurate copy of that policy is attached hereto as Exhibit I.

              c.      CEI paid at least $185,375.00 for $20,000,000.00 in excess

       coverage from Allied World covering the period from February 16, 2015 through

       February 16, 2016 (Policy # 0308-1497, the “2015 Allied World Excess Policy”).

       A true and accurate copy of that policy is attached hereto as Exhibit J.

              d.      CEI paid at least $251,000.00 for $10,000,000.00 in excess

       coverage from Evanston Insurance covering the period from February 16, 2016

       through February 16, 2017 (Policy # MKLV20LE106394, the “2016 Evanston

       Insurance Excess Policy”). A true and accurate copy of that policy is attached

       hereto as Exhibit K.

              e.      CEI paid at least $260,000.00 for $10,000,000.00 in excess

       coverage from Evanston Insurance covering the period from February 16, 2017

       through February 16, 2018 (Policy # MKLV2EUL10156, the “2017 Evanston

       Insurance Excess Policy”). A true and accurate copy of that policy is attached

       hereto as Exhibit L.




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              f.      CEI paid at least $260,000.00 for $10,000,000.00 in excess

       coverage from Evanston Insurance covering the period from February 16, 2018

       through February 16, 2019 (Policy # MKLV2EUL102273, the “2018 Evanston

       Insurance Excess Policy”). A true and accurate copy of that policy is attached

       hereto as Exhibit M.

              g.      CEI paid at least $55,575.00 for $10,000,000.00 in second layer

       excess coverage from Ohio Casualty covering the period from February 16, 2016

       through February 16, 2017 (Policy # ECO(17)57154800, the “2016 Ohio Casualty

       Excess Policy”). A true and accurate copy of that policy is attached hereto as

       Exhibit N.

              h.      CEI paid $12,278.00 to purchase an additional $5,000,000.00 in

       second layer excess coverage (for a total of $15,000,000.00) from Ohio Casualty

       covering the period from July 21, 2016 through February 16, 2017 (the “July

       2016 Ohio Casualty Endorsement”). A true and accurate copy of that policy is

       attached hereto as Exhibit O.

              i.      CEI paid $78,885.00 for $15,000,000.00 in second layer excess

       coverage from Ohio Casualty covering the period from February 16, 2017 through

       February 16, 2018 (Policy # ECO(18)57154800, the “2017 Ohio Casualty Excess

       Policy”). A true and accurate copy of that policy is attached hereto as Exhibit P.

              j.      CEI paid $78,885.00 for $15,000,000.00 in second layer excess

       coverage from Ohio Casualty covering the period from February 16, 2018 through

       February 16, 2019 (Policy # ECO(19)57154800, the “2018 Ohio Casualty Excess

       Policy”). A true and accurate copy of that policy is attached hereto as Exhibit Q.



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                       k.      CEI paid $67,009.00 for $15,000,000.00 in second layer excess

                coverage from Ohio Casualty covering the period from February 16, 2019 through

                February 1, 2020 (Policy # ECO(20)57154800, the “2019 Ohio Casualty Excess

                Policy”), which was extended through August 1, 2020 by an endorsement for

                which CEI paid $33,411.00. A true and accurate copy of that policy is attached

                hereto as Exhibit R.

                       l.      CEI paid $50,000.00 for $25,000,000.00 in third layer excess

                coverage from Colony covering the period from August 2, 2016 through February

                16, 2017 (Policy # AR4460544, the “2016 Colony Excess Policy”). A true and

                accurate copy of that policy is attached hereto as Exhibit S.

                       m.      CEI paid $92,250.00 for $25,000,000.00 in third layer excess

                coverage from Evanston Insurance covering the period from February 16, 2017

                through February 16, 2018 (Policy # AR4460544, the “2017 Colony Excess

                Policy”). A true and accurate copy of that policy is attached hereto as Exhibit T.

        26.     The excess liability policies listed in the immediately preceding paragraph

(including its subparagraphs) are hereinafter referred to collectively as the “Excess Policies” and

individually as an “Excess Policy.”

        27.     The Excess Policies follow the form of their underlying Primary Policies.

        28.     Including the Primary Policies and Excess Policies listed above, CEI purchased

$236,000,000.00 in general liability coverage for damages caused by property damage during the

relevant periods.

                     CEI served as the general contractor for three projects.




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        29.     CEI served as the general contractor on the construction of a student housing

complex in Fort Collins, Colorado (the “Colorado Project”).

        30.     Construction on the Colorado Project began in 2013.

        31.     The Colorado Project included the use of 4 foot by 8 foot fiber cement panels (the

“Panels”) on the exterior walls.

        32.     CEI purchased the Panels, which were then installed exclusively by

subcontractors, not by CEI.

        33.     The certificate of occupancy for the Colorado Project was issued on August 14,

2014.

        34.     CEI also served as the general contractor on the construction of two other projects

in Alabama and Oregon using similar Panels (respectively, the “Alabama Project” and the

“Oregon Project”).

        35.     Construction on the Alabama Project began in 2012, and certificates of occupancy

were issued in August 2013 and December 2014.

        36.     The Alabama Project also included the use of Panels on the exterior walls.

        37.     CEI purchased the Panels, which were then installed exclusively by

subcontractors, not by CEI.

        38.     Construction on the Oregon Project began in 2013, and the certificate of

occupancy was issued in December 2014.

        39.     The Oregon Project also included the use of Panels on the exterior walls.

        40.     CEI purchased the Panels, which were then installed exclusively by

subcontractors, not by CEI.

                     Dispute over the Projects triggers CEI’s insurance policies.



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        41.     In 2016, The Colorado Project was purchased by Fort Collins Properties I, LLC, a

Delaware limited liability company with its principal address of 5 Bryant Park, 1065 6th Avenue,

28th Floor, New York, New York 10018.

        42.     On January 6, 2021, Fort Collins Properties I, LLC sued CEI in a Colorado state

court (the “Colorado Dispute”).

        43.     The Colorado Dispute proceeded from Colorado state court to arbitration. A true

and correct copy of the operative pleading in Colorado Dispute is attached as Exhibit U.

        44.     The primary issue raised in the Colorado Dispute involves the installation of the

Panels by CEI’s subcontractors. The allegations include, but are not limited to, loose fasteners

protruding from panels, overdriven fasteners, cracked panels, missing portions of panels that

broke off along cracks, and fasteners that are not secured to stud framing. Fort Collins Properties

I, LLC alleges that overdriven nails and cracks in the Panels allow moisture into and behind the

panels, leading to deterioration of the Panels and to water damage to other construction elements.

        45.     Fort Collins Properties I, LLC maintains that destructive testing demonstrates,

among other things, moisture damage to the Panels and water intrusion behind the Panels, which

has damaged other building components.

        46.     Fort Collins Properties I, LLC’s expert recommends removing all of the Panels,

inspecting the substrate behind the panels for damage and deterioration, replacing any damaged

substrate materials, installing new weather resistive barrier, and installing new Panels.

        47.     The same ownership group that initiated the Colorado Dispute (the “Building

Owners”) purchased both the Alabama Project and the Oregon Project through Jefferson Loft,

LLC, a Delaware limited liability company with a principal address of 5 Bryant Park, 28th Floor,

New York, New York 10018.



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        48.      On information and belief, Jefferson Loft, LLC and Fort Collins Properties I, LLC

share members.

        49.      Jefferson Loft, LLC sued CEI over the Alabama Project alleging theories of

damage related to subcontractor installation of the Panels similar to those alleged in the Colorado

Dispute (the “Alabama Dispute”). A true and accurate copy of the operative complaint in the

Alabama Dispute is attached hereto as Exhibit V.

        50.      The primary issue raised in the Alabama Dispute involves the installation of the

Panels by CEI’s subcontractors. The allegations include, but are not limited to, loose fasteners

protruding from panels, overdriven fasteners, cracked panels, missing portions of panels that

broke off along cracks, and fasteners that are not secured to stud framing. Jefferson Loft, LLC

alleges that overdriven nails and cracks in the Panels allow moisture into and behind the panels,

leading to deterioration of the Panels and to water damage to other construction elements.

        51.      Jefferson Loft, LLC maintains that destructive testing demonstrates, among other

things, moisture damage to the Panels and water intrusion behind the Panels, which has damaged

other building components at the Alabama Project.

        52.      Jefferson Loft, LLC’s expert recommends removing all of the Panels, inspecting

the substrate behind the panels for damage and deterioration, replacing any damaged substrate

materials, installing new weather resistive barrier, and installing new Panels.

        53.      Jefferson Loft, LLC also sued CEI over the Oregon Project alleging theories of

damage related to subcontractor installation of the Panels similar to those alleged in the Colorado

Dispute and the Alabama Dispute (the “Oregon Dispute”) (collectively, the Colorado Dispute, the

Alabama Dispute, and the Oregon Dispute are the “Panel Dispute Matters”). A true and accurate

copy of the operative complaint in the Oregon Dispute is attached hereto as Exhibit W.



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        54.     The primary issue raised in the Oregon Dispute involves the installation of the

Panels by CEI’s subcontractors. The allegations include, but are not limited to, loose fasteners

protruding from panels, overdriven fasteners, cracked panels missing portions of panels that broke

off along cracks, and fasteners that are not secured to stud framing. Jefferson Loft, LLC alleges

that overdriven nails and cracks in the Panels allow moisture into and behind the panels, leading

to deterioration of the Panels and to water damage to other construction elements.

        55.     Jefferson Loft, LLC maintains that destructive testing demonstrates, among other

things, moisture damage to the Panels and water intrusion behind the Panels, which has damaged

other building components at the Oregon Project.

        56.     Jefferson Loft, LLC’s expert recommends removing all of the Panels, inspecting

the substrate behind the panels for damage and deterioration, replacing any damaged substrate

materials, installing new weather resistive barrier, and installing new Panels.

        57.     The damages alleged in the complaints in each of the Panel Dispute Matters

triggered the insurers’ duty to defend under the Primary Policies, which Allied World and Gemini

have acknowledged.

                            Failed Mediations of the Colorado Dispute

        58.     CEI appeared with its Primary Insurers for a mediation of the Colorado Dispute

with the Building Owners on November 1, 2022 (the “November 2022 Mediation”).

        59.     Ahead of the November 2022 Mediation, defense counsel retained by the Primary

Insurers submitted reports to CEI and to CEI’s insurers assessing CEI’s potential liability and

making recommendations as to settlement value.

        60.     CEI attended the November 2022 Mediation expecting an attempt to settle the

Colorado Dispute within the scope of the recommendation provided to CEI and the Primary

Insurers by insurer retained defense counsel.
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           61.   At the November 2022 Mediation, Allied World did not negotiate settlement in

good faith.

           62.   Allied World did not have an adjuster attend the November 2022 Mediation.

Instead, Allied World attended only through its outside coverage counsel, who was retained solely

to represent Allied World’s interest in the Primary and Excess Policies.

           63.   Following the failed November 2022 Mediation, CEI retained insurance coverage

counsel.

           64.   With the Colorado Dispute set for a two week arbitration to begin on April 4,

2023, CEI and its insurers participated in an insurance coverage mediation on February 21, 2023

(the “February 2023 Mediation”) and a second mediation with the Building Owners on March 6,

2023 (the “March 2023 Mediation”).

           65.   As with the November 2022 Mediation, the only Allied World representative to

attend the February 2023 Mediation was outside coverage counsel retained by Allied World

solely to represent Allied World’s interests.

           66.   An Allied World adjuster attended the March 2023 Mediation with Allied

World’s outside coverage counsel, but Allied World was not prepared to participate meaningfully

in settlement negotiations.

           67.   The Colorado Dispute was not resolved at any of the three mediations.

           68.   The week before the arbitration hearing in the Colorado Dispute was set to

proceed, the hearing was continued due to the production of recently identified documents that

had not previously been disclosed by the claimant. The arbitration of the Colorado Dispute is set

for hearing in March 2024.




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        69.     The Alabama Dispute is set for mediation on May 5, 2023 and May 22, 2023,

with trial to follow in October 2023 if the matter is not resolved at mediation.

        70.     The Oregon Dispute is set for mediation on May 11, 2023 and May 12, 2023, with

trial to follow in June 2023 if the matter is not resolved at mediation.

                                  FIRST CAUSE OF ACTION:
                                      Declaratory Relief

        71.     CEI incorporates and realleges each and every allegation as if set forth in the

preceding paragraphs.

        72.     The Primary Insurers and Excess Insurers constitute interested parties under the

Declaratory Judgment Act, 28, U.S.C. § 2201 et seq., whose rights and responsibilities are

affected by the Primary Policies and Excess Policies.

        73.     An actual controversy exists as to the rights, status, and legal relations of CEI and

the Primary Insurers and the Excess Insurers under the Primary Policies and the Excess Policies.

        74.     CEI is entitled to a declaration of the rights, status, and legal relation of CEI and

the Primary Insurers and Excess Insurers under the Primary Policies and Excess Policies with

respect to the damages alleged and potentially supported by evidence in the Colorado Dispute, the

Alabama Dispute, and the Oregon Dispute.

        75.     A declaration of the rights, status, and legal relation of CEI and the Primary

Insurers and Excess Insurers under the Primary Policies and Excess Policies with respect to the

damages alleged and potentially supported by evidence in the Colorado Dispute, the Oregon

Dispute, and the Alabama Dispute would resolve the controversy between CEI and the Primary

and Excess Insurers and facilitate the resolution of the Colorado Dispute, the Oregon Dispute, and

the Alabama Dispute.




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        76.     Therefore, CEI respectfully requests that the Court make the following

declarations:

                        a.     Negligent installation of the Panels by CEI’s subcontractors (as

                alleged and to the extent it may be proved in the Colorado Dispute, the Oregon

                Dispute, and the Alabama Dispute) constitutes an occurrence under the Primary

                Policies and Excess Policies;

                        b.     Damage to the Panels (as alleged and to the extent it may be

                proved in the Colorado Dispute, the Oregon Dispute, and the Alabama Dispute)

                constitutes property damage under the Primary Policies and Excess Policies;

                        c.     The damages alleged and at issue in the Colorado Dispute, the

                Oregon Dispute, and the Alabama Dispute are not solely for replacement of a

                defective component or correction of faulty installation that constitutes CEI’s

                work;

                        d.     Water damage to construction components other than the Panels

                (as alleged and to the extent it may be proven in the Colorado Dispute, the Oregon

                Dispute, and the Alabama Dispute) constitutes property damage under the

                Primary Policies and Excess Policies; and

                        e.     The cost of removing and replacing the Panels is covered by the

                Primary Policies and Excess Policies.

                        f.     The Continuous and Progressive Exclusion in the Gemini Primary

                Policies is void and unenforceable pursuant to Colorado Revised Statute § 10-4-

                110.4

        77.     CEI is entitled to the foregoing declarations.



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                             SECOND CAUSE OF ACTION:
              Common Law Breach of the Duty to Negotiate Settlement in Good Faith
                                    against Allied World

         78.      CEI incorporates and realleges each and every allegation as if set forth in the

preceding paragraphs.

         79.      Allied World has provided a defense for CEI in the Panel Dispute Matters.

         80.      By providing a defense, Allied World has a duty to negotiate settlement in good

faith as an integral part of that defense.

         81.      Furthermore, Allied World and Gemini’s failure to negotiate settlement of the

Colorado Dispute in good faith and their other communications with CEI reflect a preemptive

repudiation of their obligations and duties under the Primary Policies, including, but not limited to

their obligation to negotiate settlement of both the Oregon Dispute and the Alabama Dispute in

good faith.

         82.      Allied World has breached the duty to negotiate settlement in good faith by one or

more of the following unreasonable acts:

                  a.     Failing to provide a representative at the November 2022 Mediation with

                         settlement authority to act on behalf of the insured; Allied World attended

                         only through its outside coverage counsel, who was retained solely to

                         represent Allied World’s interest in the Primary and Excess Policies;

                  b.     Failing to provide any response to one or more reasonable settlement

                         demands to resolve the claims against CEI within the Primary Policy

                         limits of liability;

                  c.     Failing to provide a representative at the February 2023 coverage

                         mediation with settlement authority on behalf of the insured; Allied World



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                        attended only through its outside coverage counsel, who was retained

                        solely to represent Allied World’s interest in the Primary and Excess

                        Policies;

                d.      Ignoring the recommendations of insurer retained defense counsel that the

                        Panel Dispute Matters be settled;

                e.      Failing to investigate the claims in the Panel Dispute Matters with

                        ordinary care and diligence;

                f.      Disregarding the risk of substantial judgments against CEI, which could

                        imperil CEI’s existence as a going concern;

                g.      Completely disregarding the financial interest of the Insured;

                h.      Placing the interest of the insurer above the interest of the insured;

                i.      Failing to acknowledge and respond to communications from CEI;

                j.      Requiring CEI to retain insurance coverage counsel to recover amounts due

                        under its insurance policies;

                k.      Requiring CEI to resort to litigation to recover amounts due under its

                        insurance policies;

                l.      Failing to communicate coverage positions to the Insured;

                m.      Failing to communicate reservations of rights to the Insured in a timely

                        manner;

                n.      Repeatedly requesting information that had already been provided multiple

                        times and falsely claiming that such information had not been provided; and

                o.      Other conduct to be revealed in discovery.

        83.     As a direct and proximate cause of Allied World’s bad faith breach of its Primary

Policy and potentially Excess Policy, CEI has suffered damages in an amount to be proven at trial.

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            84.    CEI reserves the right to amend this Cause of Action to the extent additional

information is identified in discovery.


                                  THIRD CAUSE OF ACTION:
            Statutory Bad Faith: Colorado Revised Statutes §§ 10-3-1115 and 10-3-1116
                                       (as to Allied World)

            85.    CEI realleges each and every allegation as if set forth in the preceding paragraphs.

            86.    Colorado Revised Statutes §§ 10-3-1115 and 10-3-1116 are applicable to Allied

World’s refusal to make full and adequate payment of insurance benefits to CEI in connection

with the Colorado Dispute.

            87.    Allied World has unreasonably delayed or denied insurance policy benefits issued

by insurers doing business in Colorado as referenced in Colorado Revised Statutes § 10-3-1116 to

policies.

            88.    Pursuant to Colorado Revised Statutes § 10-3-1116, CEI is entitled to bring an

action to recover reasonable attorney’s fees and court costs and two times the amount of the

recovered benefits that were unreasonably delayed or denied by Allied World’s conduct.

            89.    Allied World has delayed or denied payment of benefits without a reasonable

basis so as to entitle CEI to the full extent of penalties in the form of attorney’s fees, court costs

and two times the covered benefits.

            90.    CEI reserves the right to amend this Cause of Action to the extent additional

information is identified in discovery.

                                        PRAYER FOR RELIEF

            WHEREFORE, Construction Enterprises, Inc. respectfully requests:

                   a.     A declaration that negligent installation of the Panels by CEI’s

            subcontractors constitutes an occurrence under the Primary Policies and Excess Policies;

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          b.      A declaration that negligent installation of the Panels by CEI’s

  subcontractors (as alleged and to the extent it may be proven in the Panel Dispute

  Matters) caused physical damage to the Panels;

          c.      A declaration that damage to the Panels (as alleged and to the extent it

  may be proven in the Panel Dispute Matters) constitutes property damage under the

  Primary Policies and Excess Policies;

          d.      A declaration that the damages alleged and that may be proven in the

  Panel Dispute Matters are not solely for replacement of a defective component or the

  correction of faulty installation;

          e.      A declaration that water damage to construction components other than

  the Panels (as alleged and to the extent it may be proven in the Panel Dispute Matters)

  constitutes property damage under the Primary Policies and Excess Policies;

          f.      A declaration that the cost of removing and replacing the Panels (as

  alleged and to the extent it may be proven in the Panel Dispute Matters) is covered by the

  Primary Policies and Excess Policies;

          g.      A declaration that the Continuous and Progressive Exclusion in the

  Gemini Primary Policies is void and unenforceable pursuant to Colorado Revised Statute

  § 10-4-110.4;

          h.      An order awarding Construction Enterprises, Inc. its costs, expenses, and

  reasonable attorneys’ fees;

          i.      Punitive damages from Allied World in an amount authorized by law or as

  the jury may find appropriate;

          j.      Pre-and post-judgment interest;



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         k.      A jury trial on all issues so triable; and

         l.      Such other further relief to which Construction Enterprises, Inc. may be

  entitled as a matter of law or equity, or which the Court deems to be just and proper.



                                         Respectfully submitted,

                                         sHeather Howell Wright
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